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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


RODNEY JONES,

                  Plaintiff,                          Case No.: 24-cv-01457

           -against-
                                                      MEMORANDUM OF LAW IN
SEAN COMBS, JUSTIN DIOR COMBS, CUBA                   SUPPORT OF MOTION FOR
GOODING JR., LUCIAN CHARLES GRAINGE,                  SANCTIONS
KRISTINA KHORRAM, LOVE RECORDS, MOTOWN
RECORDS, UNIVERSAL MUSIC GROUP, COMBS
GLOBAL ENTERPRISES, JOHN and JANE DOES 1-10
and ABC CORPORATIONS. 1-10,

                  Defendants.




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                                    Records and UMG Recordings, Inc. (incorrectly
                                    named in Complaint as Universal Music Group)
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       Sir Lucian Grainge (“Grainge”), Motown Records (“Motown”) and UMG Recordings, Inc.

(“UMG Recordings,” incorrectly identified in the Complaint, First Amended Complaint and

Second Amended Complaint as Universal Music Group, which is not a juridical entity; hereinafter

sometimes collectively referred to as “UMG”), submit this Memorandum of Law in support of

their motion, pursuant to 28 U.S.C. § 1927 and the inherent power of this Court, for orders

sanctioning plaintiff Rodney Jones (“Plaintiff”) and Plaintiff’s counsel, Tyrone Anthony

Blackburn, Esq. (“Blackburn”).1

                                PRELIMINARY STATEMENT

       UMG served its second motion to dismiss on April 24, 2024 and its second motion for Rule

11 sanctions on Plaintiff and Blackburn on April 26, 2024, providing Plaintiff and Blackburn with

a 21 day “safe harbor” within which to take action to avoid the imposition of sanctions. Plaintiff’s

opposition to UMG’s motion to dismiss was due on May 15 and the 21 day “safe harbor” period

would have expired on May 17, 2024. Thus, despite having filed a complaint, a First Amended

Complaint (“FAC”) and the SAC, all of which were filled with offensively false accusations

against UMG, asserting claims lacking any factual or legal basis whatsoever – until the last minute,

ignoring UMG’s March 4, 2024 written notice of the falsity of the accusations and lack of legal

merit of the claims, ignoring UMG’s motion to dismiss the FAC and its first served motion for

Rule 11 sanctions, ignoring UMG’s motion to dismiss the SAC and UMG’s second served Rule

11 motion – by dismissing all of the claims and allegations made against Grainge, Motown and




1
  All claims and allegations made in the Second Amended Complaint (“SAC”) against Sir Lucian
Grainge, Motown Records and “Universal Music Group” (meaning UMG Recordings, Inc.”) were
dismissed with prejudice on May 14, 2024 pursuant to a motion made by Plaintiff, consented to
by UMG, subject to an express reservation of rights by UMG. Plaintiff’s motion also requested
that all references to Grainge, Motown Records and Universal Music Group in the SAC be deleted
or be deemed to have been deleted.
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UMG Recordings on May 14, 2024, Plaintiff and Blackburn may be saved by Rule 11’s 21 day

safe harbor from the imposition of Rule 11 sanctions they richly deserve for their conduct.

       But they cannot, and should not be permitted to dodge sanctions under this Court’s inherent

power and under 28 U.S.C. § 1927.

       Courts have the inherent power to manage their own affairs and to assure that litigants do

not misuse the courts for their own purposes. While the Court’s inherent power includes the right

to impose sanctions on both parties and attorneys, 28 U.S.C. § 1927 provides the Court with the

power to sanction attorneys for the excess costs, expenses and attorneys’ fees incurred by virtue

of their unreasonable and vexatious multiplication of proceedings.

       As set forth in detail in the accompanying declaration of Donald S. Zakarin (“Zakarin

Decl.”) and the exhibits thereto, the claims and allegations against UMG were completely baseless

to begin with and should never have been brought. Plaintiff and Blackburn had no factual or legal

basis for any of the claims asserted in the original Complaint, the FAC or the SAC. At the very

outset of this case, on March 4, 2024, before UMG was required to incur virtually all of the more

than $450,000 in legal fees and expenses they have incurred, Plaintiff and Blackburn were put on

notice that the claims and allegations were completely false and baseless. They could have

dismissed the claims and withdrawn all allegations against UMG at that point, but they did not.

Instead, they doubled down, requiring UMG to prepare and file a costly motion to dismiss and to

prepare and serve a Rule 11 motion.

       As of March 27, 2024, before UMG was forced to incur the additional legal fees and

expenses it incurred after that date (amounting to some $200,000), Plaintiff and Blackburn were

in possession of UMG’s motion to dismiss the FAC and by April 1, 2024, had UMG’s first motion

for Rule 11 sanctions. Those motion papers made clear, as did the March 4, 2024 letter, that



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Plaintiff’s claims and allegations were completely baseless, both factually and legally. Plaintiff

and Blackburn could have then dismissed the claims and withdrawn all allegations against UMG,

but again did not. Instead, they again doubled down, moving to amend the FAC, changing all of

the theories of their claims in the FAC and changing the “facts” alleged in the FAC (as if the falsity

of the allegations they had previously pleaded was meaningless), requiring UMG to incur some

$200,000 in additional legal fees and expenses through the end of April (and additional fees and

expenses in May, including the costs of this motion).

       But the hundreds of thousands of dollars in legal fees and expenses that UMG has been

forced to unnecessarily incur are just the tip of the iceberg of the harm that Plaintiff’s and

Blackburn’s reckless and improper conduct have caused UMG.                The salacious and utterly

unfounded criminal accusations leveled against Sir Lucian Grainge, which Plaintiff and Blackburn

fully understood (and undoubtedly intended) would be endlessly republished by the press and on

social media (including by Blackburn himself), have seriously and needlessly damaged his

reputation, one that has been hard-earned by years of service and philanthropy. Indeed, the original

complaint and the FAC purposefully and unnecessarily included both a picture of Grainge and

published his home address, requiring Grainge to incur additional expense in obtaining security

for himself and his family.

       If anything, the fact that there is a litigation privilege, should make attorneys more, not less,

careful before they irresponsibly file pleadings accusing people of engaging in vile criminal

behavior.

       But that is not how Plaintiff and Blackburn see it. Instead, as Judge Cote observed,

Blackburn’s “pattern of behavior is that he improperly files cases in federal court to garner media

attention, embarrass defendants with salacious allegations, and pressure defendants to settle



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quickly.” (ECF No. 34 at pp.13-14.) It is obvious that the massively improper actions of Plaintiff

and Blackburn here are thus not some outlier or aberration. They are instead Blackburn’s MO.

And if Judge Cote’s referral to the Southern District’s grievance committee was not sufficient to

put a stop to Blackburn’s improper conduct, perhaps meaningful monetary sanctions that directly

impact his wallet will. One thing is clear: sanctions in this case are absolutely warranted.

                                            RELEVANT FACTS

            A. The False Claims and Accusations of The Original Complaint and FAC

       As set forth in detail in Exhibit A to the Zakarin Decl. (Exhibit A being the Zakarin

Declaration in support of UMG’s second motion for Rule 11 sanctions), the original complaint and

the FAC both claimed that Motown was the parent company of Love Records and UMG thus had

a “respondent (sic) superior” relationship with Sean Combs (“Combs”). That was utterly untrue.

The original complaint and FAC also alleged that Plaintiff had personally seen Grainge at Combs’

homes in Los Angeles and Miami during “sex trafficking” parties and that Grainge and Combs

had disappeared for hours into Combs’ bedroom at night. (ECF No. 2 ¶¶ 162-164.) Blackburn cut

and pasted those identical allegations into the original complaint and FAC with respect to

Motown’s former president, Ethiopia Habtemariam (“Habtemariam”) as well. (Id. ¶¶ 171-174.)

These incredibly salacious accusations were also completely untrue.

       These patently fabricated and highly incendiary allegations provided the foundation for

Grainge’s supposed knowledge of and alleged involvement in Combs’s alleged “sex trafficking.”

The equally false “parent company” allegation served as the supposed basis for implicating UMG

in Plaintiff’s federal civil racketeering and sex trafficking claims against the Combs’ defendants




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under the Racketeer Influenced and Corrupt Organizations (“RICO”) Act, 18 U.S.C. §§ 1961, et

seq., and the Trafficking Victims Protection Act of 2000 (“TVPA”), 18 U.S.C. §§ 1591, et seq.2

       Before having to spend what would ultimately amount to over $450,000 in legal fees and

expenses, on March 4, 2024, UMG put Plaintiff and Blackburn on written notice that the claims

and allegations of the FAC were offensively false and unless they were immediately withdrawn,

UMG would seek not only dismissal of the claims but sanctions under Rule 11. (Zakarin Decl. at

¶ 8; Exhibit B). Blackburn rejected UMG’s demand, reiterating the false accusations of the FAC.

But Blackburn also made no effort whatsoever to serve the FAC, preferring to have the offensively

false and destructive allegations remain unaddressed in a public record. UMG blunted this tactic

by unilaterally waiving service of process so it could file its motion to dismiss, which it did on

March 27, 2024, and served its first Rule 11 motion on Blackburn on April 1, 2024.

       Informed by the detailed declarations provided by Grainge, Habtemariam, Martha

Braithwaite and Mr. Zakarin and the Memorandum of Law, making clear that the allegations of

the FAC were utterly false and that Plaintiff had no legal basis for any claim against UMG, instead

of dismissing the claims - which is exactly what they should have done - Plaintiff and Blackburn

decided to simply change their “facts” and their legal theory but keep their claims. In a letter to

the Court seeking to amend the FAC on March 28, 2024 (ECF No. 30), Blackburn completely

misrepresented the content of the FAC, writing that it supposedly only said that “Combs identified”

Grainge and Habtemariam to Plaintiff, but that Plaintiff did not himself recognize Grainge or

Habtemariam or “meet them and speak with them.” (Id. at p.3.) In actuality, the FAC alleged that




2
 UMG believes Blackburn provided the original complaint to the press before filing it as part of
his self-promotional activities.


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Plaintiff himself personally saw Grainge and Habtemariam at Combs’ homes (an impossibility as

Grainge was never there).3

       The proposed SAC thus jettisoned the prior accusation that Grainge had personally

attended the alleged “sex trafficking” parties at Combs’ homes. It also abandoned (without any

explanation) the FAC’s “parent company” allegation.4 (ECF No. 2 ¶¶ 9, 222.) Instead, the SAC

invented an entirely new, yet equally false, foundational allegation (repeated some 46 times in the

SAC): Motown was the “general business partner” of Love Records, Inc. (E.g., ECF No. 38 ¶¶ 8,

11, 12, 173, 372.) In fact (as detailed in the Habtemariam declaration attached as Exhibit 3 to

Exhibit A to the Zakarin Decl.), Habtemariam explicitly told Blackburn there was no partnership,

only an arm’s length license agreement (which was attached in redacted form to the Braithwaite

declaration in support of UMG’s motions to dismiss the FAC and SAC, Exhibit 2 to Exhibit A to

the Zakarin Decl.).5 And that license agreement, in paragraph 16.11 expressly provided that there

was no partnership or joint venture between Motown and Love Records.

       Blackburn and Plaintiff had the license agreement in their possession for two weeks before

they filed the SAC on April 12, 2024. They knew, from Habtemariam and from the license

agreement, that there was no “general business partnership” between Motown and Love Records.



3
 As shown by Exhibit C to the Zakarin Decl., Blackburn posted on social media that the Court
would grant him leave to amend, that UMG would move to dismiss the SAC and that he would
“crush” UMG with his opposition. While the first two happened, the third did not.
4
  The Court asked Blackburn about the basis for the “parent company” allegation. (4/9/24 Hrg. Tr.
at 6:25-8:5.) Blackburn ignored the question because he had made it up out of whole cloth.
5
  Blackburn even totally misrepresented Habtemariam’s declaration attached to the SAC, claiming,
in paragraph 218 of the SAC, that Habtemariam said she was authorized to enter into a general
business partnership with Love Records. In fact, her declaration states only that she was authorized
to have Motown enter into a license agreement with Love Records.



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But because the “parent company” allegation had no basis and they needed a new foundation for

their claims against UMG, they willfully ignored both Habtemariam and the license agreement

and persevered with their knowingly false “general business partnership” allegation.

       In his April 8, 2024 letter to the Court, (ECF No. 34), without the slightest factual basis,

Blackburn blithely told the Court that “Plaintiff has reason to believe the [License Agreement]

defendants rely on is a ruse” and “a toothless sham.” (Id. at pp.1, 5.) Indeed, in that same April

8 letter, Blackburn admitted he was making up his “ruse” argument, conceding that Plaintiff and

he cannot support such a position and instead asked “that the Court allow the parties to engage

in limited discovery.”

       Nevertheless, in the admitted absence of any basis for challenging the license agreement

as a “ruse,” based on the newly concocted and knowingly false “general business partnership”

allegation, the SAC also invented non-existent obligations on the part of UMG to supervise and

control how Love Records/Combs chose to spend the money paid and payable by Motown under

the license agreement. There is, of course, no such obligation anywhere in the law. But in order

to keep baseless claims alive, Plaintiff and Blackburn included such allegations as the basis for

their claims against UMG in the SAC, multiplying the proceedings unnecessarily.

       B. UMG Was Forced to Unnecessarily Incur Additional Legal Fees and Expenses in
          Moving to Dismiss The SAC and Serving a Second Rule 11 Motion

       However different the theories and “facts” alleged in the SAC were from the FAC, they

remained just as offensively false and legally baseless as the theories and “facts” of the FAC and

the claims against UMG remained completely unfounded. Accordingly, on April 24, 2024, UMG

moved to dismiss the SAC and on April 26, they served Blackburn with their second Rule 11

motion. The UMG motion to dismiss the SAC showed clearly and unequivocally, as the motion




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to dismiss the FAC had, that the allegations were false and the claims were completely baseless.

(See generally ECF No. 41 and Exhibits 1, 2, 3 and 4 to Exhibit A to Zakarin Decl.)

       Indeed, Plaintiff and Blackburn persisted with the SAC despite having not only the benefit

of UMG’s motion to dismiss the FAC and the first Rule 11 motion for some two weeks, but having

also heard the Court’s expressed dubiety, at the April 9, 2024 telephonic conference, about his

theory for the claims against UMG. This Court told Blackburn:

       I’m not hearing anything that would plausibly give rise to a theory that would make
       UMG liable because they gave him [Combs] money and because they had a deal
       with respect to budgets and overseeing certain aspects of their distribution
       agreement, that they had a duty to babysit him [Combs] and prevent him from doing
       all these bad things and that somehow gives rise to liability on the part of the
       company, I just don’t know any authority for that.

(4/9/24 Hrg. Tr. at 16:16-23.)6

       Ignoring this Court, ignoring UMG’s motion to dismiss the FAC (which provided ample

notice that the allegations and claims against UMG were not only frivolous but they were

completely unfounded and false), and ignoring UMG’s motion to dismiss the SAC and their second

served Rule 11 motion, Blackburn and Plaintiff sat back, allowing the press and social media to

continue to blare their hateful and antisemitic tropes about Grainge that were based on and

triggered by the completely false and legally baseless allegations they had placed into three

successive complaints. Only at the eleventh hour, before they would be required to file opposition

to UMG’s motion to dismiss and before the “safe harbor” on UMG’s second motion for Rule 11



6
  See also id. at 7:8–10 (Court: “so without [the license agreement] you thought it was appropriate
to file a complaint simply asserting that Motown was the parent company of Love Records with
no basis?”), 8:10–8:13 (Court: “But you’re saying, because this company was paying money to
Sean Combs, that it’s responsible for the sexual assaults and other conduct by Mr. Combs in his
home; is that the theory?”), 9:7–9:12 (Court: “The fact that he had a deal with his record company
to pay him, and there was certain oversight the company was supposed to give, makes them
responsible for all these things that he did in his house?”; Mr. Blackburn: “Not just his house,
your Honor. It wasn’t just his house. It was a yacht.”).
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sanctions would expire, did Plaintiff and Blackburn initiate an effort to extricate themselves from

what they had purposefully wrought by seeking to obtain UMG’s agreement to a stipulation

allowing them to withdraw the claims in the SAC, initially against Grainge and then also UMG.7

       C. Plaintiff’s And Blackburn’s Belated “Voluntary” Dismissal Of The SAC

       After filing three complaints making offensively false allegations against Grainge, Motown

and UMG Recordings, Inc., after being served with two detailed motions to dismiss and two even

more detailed Rule 11 motions, with the 21 day “safe harbor” coming to an end and facing Rule

11 sanctions for their conduct, Plaintiff and Blackburn belatedly recognized that they needed to do

something to avoid sanctions (it being patently obvious that their baseless claims would be

dismissed by the Court if they did not dismiss them). UMG refused to stipulate to dismissal -

which might enable Plaintiff and Blackburn to falsely and publicly pretend that UMG had made

some accommodation with Plaintiff, which UMG did not do and would not do. Instead, UMG

advised Blackburn that he should draft a motion, UMG would review his declaration and, if it were

accurate, UMG would separately file its consent to the motion.

       On May 13, Blackburn filed Plaintiff’s motion to dismiss all of the claims and allegations

against Grainge, Motown and UMG Recordings, Inc., supported by a declaration that was

substantially consistent with a declaration that UMG had approved. In that declaration, Blackburn

specifically, but belatedly, admitted that, just as UMG had told Blackburn on March 4, 2024 and

in two motions to dismiss and in two Rule 11 motions, all of the claims and allegations in the SAC

against Grainge, Motown and UMG Recordings, Inc. had no legal basis (they had no basis

whatsoever). Because Blackburn inexplicably characterized his filing as a “stipulation,” which it



7
  Only after UMG rejected a stipulation and made clear that there was no basis for the claims
against Motown and UMG Recordings, Inc. did Blackburn agree to move to dismiss all claims and
allegations against UMG with prejudice.
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clearly was not, the clerk bounced it on May 14, 2024. Blackburn then filed the motion for

dismissal, appropriately characterizing it as a motion, and UMG filed the declaration of Donald S.

Zakarin agreeing to the dismissal with prejudice, while specifically reserving UMG’s rights. (See

ECF No. 49.) (Zakarin Decl. ¶¶ 8, 12-17.)

       While all of the claims and all of the allegations against Grainge, Motown and UMG

Recordings, Inc. have now finally been dismissed with prejudice (this Court retains jurisdiction to

consider and determine this motion for sanctions), the harm left in the wake of Plaintiff’s and

Blackburn’s outrageous pleadings remains. Beyond incurring nearly half a million dollars in legal

fees and expenses, virtually all of which should never have been required, Sir Lucian Grainge has

had a successful and well-lived life upended, been subjected to antisemitic attacks in social media,

had his home address publicized and had to obtain enhanced security for his family. (Zakarin Decl.

¶16.) This is not some isolated incident for Blackburn. As Judge Cote has found, Blackburn has

an established pattern of behavior that delights in making vile accusations against people (and even

lawyers and law firms) that have little or no basis. Plaintiff, it would appear, is his vehicle in this

case for that conduct.

       Plaintiff and Blackburn should have dismissed all of their allegations and claims upon

receiving UMG’s March 4, 2024 letter. (Zakarin Decl. ¶¶17-21, Exhibit B.) They should have

dismissed all of their claims and allegations upon receiving UMG’s motion to dismiss the FAC

and the first Rule 11 motion. And they should never have sought to breathe life into moribund

claims by completely changing their theories and their “facts” in seeking to amend into their SAC.

And then, having improperly done so, they should have immediately dismissed the SAC upon

being served with UMG’s motion to dismiss the SAC and the second Rule 11 motion.




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       But they did none of the above. Why? Because Plaintiff and Blackburn must have

conceived it to be in their interest to allow a completely false and baseless pleading remain publicly

available as long as possible, no matter the harm that it had already caused and would continue to

cause. They clearly made a judgment that they would wait as long as possible and then dismiss

their claims and allegations before their “safe harbor” under Rule 11 expired.

       But Rule 11 is not the sole tool that this Court has available to address and remedy the

purposeful misuse of the judicial system by people like Blackburn, who are armed with a license

to practice law but who have demonstrated, again and again, that they should not have that right.

This Court should award sanctions against both Plaintiff and Blackburn in amounts that recognize

both the costs that UMG has unnecessarily been forced to incur and the harm that the conduct

engaged in by Plaintiff and Blackburn has caused and will cause if not deterred.

                                           ARGUMENT

I.     PLAINTIFF AND BLACKBURN SHOULD BE SANCTIONED8

       Courts have the inherent power “to manage their own affairs so as to achieve the orderly

and expeditious disposition of cases” and “to impose silence, respect, and decorum, in their

presence, and submission to their lawful mandates.” Chambers v. NASCO, Inc., 501 U.S. 32, 43

(1991) (citations omitted). Courts’ inherent “power includes the ability to fashion an appropriate

sanction for conduct which abuses the judicial process, such as the assessment of attorneys’ fees

against a party that has acted in bad faith, vexatiously, wantonly, or for oppressive reasons.”

Reichmann v. Neumann, 553 F. Supp. 2d 307, 319 (S.D.N.Y. 2008) (citations omitted). To impose




8
  The dismissal of all claims against UMG does not deprive this Court of jurisdiction to consider
sanctions nor deprive UMG of the right to seek sanctions. Cooter & Gell v. Hartmarx Corp., 496
U.S. 384, 395 (1990), superseded by statute on other grounds; Levine v. F.D.I.C., 2 F.3d 476, 478
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sanctions pursuant to their inherent power, courts must find that the challenged claims were: (1)

without a colorable basis; and (2) brought in bad faith, i.e., motivated by improper purposes such

as harassment. Enmon v. Prospect Cap. Corp., 675 F.3d 138, 143 (2d Cir. 2012) (citations omitted).

Bad faith may be inferred if actions are so completely without merit as to require the conclusion

that they must have been undertaken for some improper purpose. Id.

       The record here confirms absolutely that the actions of Plaintiff and Blackburn in persisting

with their baseless claims through three complaints with different “facts” and different theories,

none of which had any factual or legal basis, were in bad faith.

       28 U.S.C. § 1927 “allows a court to require an attorney ‘who so multiplies the proceedings

in any case unreasonably and vexatiously ... to satisfy personally the excess costs, expenses, and

attorneys’ fees reasonably incurred because of such conduct.’” Huebner v. Midland Credit Mgmt.,

Inc., 897 F.3d 42, 55 (2d Cir. 2018) (quoting 28 U.S.C. § 1927). Section 1927 “imposes an

obligation on attorneys throughout the entire litigation to avoid dilatory tactics, and provides courts

with a cudgel to use, in their discretion, to deter unnecessary delays in litigation.” Id. (citations

omitted and cleaned up).

       Sanctions may be imposed under Section 1927 “when there is a finding of conduct

constituting or akin to bad faith.” In re 60 E. 80th St. Equities, Inc., 218 F.3d 109, 115 (2d Cir.

2000). The showing of bad faith required under Section 1927 is “similar to that necessary to

invoke the court's inherent power.” Enmon, 675 F.3d at 143 (citations omitted). Bad faith conduct

includes pursuing “frivolous contentions” and engaging in “intentionally dilatory conduct.” ACLI

Gov't Sec., Inc. v. Rhoades, 907 F. Supp. 66, 68 (S.D.N.Y. 1995) (citation omitted).

       The only meaningful difference between an award of sanctions under Section 1927 and the

inherent power of the Court is that Section 1927 awards can only be made against attorneys, while



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awards under the inherent power may be made against an attorney, a party, or both. Id. Requests

for sanctions under Section 1927 and this court’s inherent power may be decided in a single

inquiry. Under this Court’s inherent power, both Plaintiff and Blackburn should be sanctioned.

Under Section 1927, Blackburn should be sanctioned.

       A.      Sanctions Should Be Ordered Based on the Objectively False - and Now
               Admittedly False - Allegations of the FAC and SAC

       It is incontrovertible that the original complaint and FAC dishonestly alleged that Plaintiff

personally saw Grainge at Combs’ homes in Miami and Los Angeles and saw him disappear into

Combs’ bedroom with Combs for hours (an impossibility as Grainge has never been to Combs’

homes). (ECF No. 2 at ¶ 162; ECF No. 49.) Plaintiff abandoned this knowingly false and

scurrilous allegation in the SAC, but it never should have been alleged in the first place. (Zakarin

Decl. Exhibit 1 to Exhibit A at ¶¶ 26-28, 30.)

       Beyond purposefully misrepresenting what the FAC said in his letter to this Court of March

28, 2024 (ECF No. 30), Blackburn has made no effort to explain how he could have pleaded

Plaintiff’s actual knowledge in the FAC when Plaintiff had none. This was not an inconsequential

allegation. It was the predicate for Grainge’s supposed knowledge of Combs’ alleged “sex

trafficking.” Its falsity alone warrants sanctions as it affirms that this accusation was made without

any basis and in bad faith. See LifeTree Trading Pte., Ltd. v. Washakie Renewable Energy, LLC,

No. 14-CV-9075, 2017 WL 2414805, at *6 (S.D.N.Y. June 2, 2017) (Oetken, J.) (imposing

sanctions under Court’s inherent authority where party committed fraud on court by submitting

declarations that it later admitted were untrue); Enmon, 675 F.3d at 145-146, 148 (affirming

sanctioning of law firm under the court’s inherent power and § 1927 where there was “ample

evidence” that papers “contained persistent misrepresentations” and were filed in bad faith, and

because law firm’s conduct “multiplied the proceedings before the District Court” and included an


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“extraordinary pattern of misrepresentations and unreasonable litigation”) (quotations and

citations omitted) (cleaned up); Huebner, 897 F.3d at 55 (affirming sanctions against law firm

under §1927 for “numerous frivolous and vexatious actions,” including improperly “chang[ing]

its theory of the case” from one legally baseless theory to another which “was plainly untrue.”).

       Similarly, the original complaint and FAC both asserted RICO and TVPA claims against

Grainge, Motown and UMG Recordings based on the foundational allegation that Motown was

the “parent company” of Love Records and therefore was responsible for the alleged acts of its

supposed employee (Combs) under a “respondent (sic) superior” relationship. But this “parent

company” allegation was completely made up by Blackburn. Not only was it discarded by

Blackburn in the SAC, but Blackburn dodged this Court’s question as to where it came from to

begin with. Again, this foundational allegation was the original predicate for the attempt to make

UMG responsible for the alleged actions of Combs and his colleagues under RICO and the TVPA.

But the allegation was not only knowingly false, it was completely fabricated. That too, alone,

warrants the imposition of sanctions.

       This Court need not try to assess whether Plaintiff lied to Blackburn or whether Blackburn

himself fabricated the falsehoods because, under the inherent power of this Court, they both are

responsible and under Section 1927, Blackburn himself is responsible for vexatiously multiplying

this proceeding and the costs of this action for UMG. Enmon, 675 F.3d at 148 (awarding full costs

of litigation, including costs of sanctions motion, in affirming sanctions against law firm).

Whatever his state of knowledge was at the outset in drafting the original complaint, before larding

up a pleading with criminal accusations against people and companies completely collateral to

Combs and his associates, he was duty bound to conduct a real, not a pretend, investigation into




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the facts (an investigation made more critical given that Plaintiff apparently has his own criminal

history).

        Blackburn knew, or as an attorney practicing before this Court, should have known, how

to investigate Plaintiff’s allegations. It is clear that any investigation would have provided no

corroboration with respect to UMG because they had nothing to do with any of the alleged actions

of Combs and his associates. But Blackburn engaged in no such inquiry, instead electing to file a

complaint filled with criminal accusations against Grainge, Motown and UMG Recordings, Inc.

based on nothing. Indeed, it was not merely based on nothing, it was based on allegations that

Blackburn knew were untrue: because Blackburn clearly recognized he had nothing to connect

UMG to his claims against Combs, he simply invented the “parent company” allegation and the

equally fabricated assertion that Grainge was present at Combs’ alleged “sex trafficking” parties.

        When UMG’s motion to dismiss the FAC obliterated those allegations, instead of

immediately dismissing the claims and allegations and acknowledging, publicly, that they were

wrong and apologizing for the harm they had caused Sir Lucian Grainge and UMG Recordings,

Inc., Blackburn and Plaintiff shifted into the SAC. They changed the “facts” and legal theories, as

if their prior pleading did not matter, inventing the “general business partnership” allegation and

manufacturing the non-existent obligation of UMG to supervise and control how Love Records

spent the monies required to be paid under the license agreement. And, in the complete absence

of any facts to support such an assertion, Blackburn labeled the license agreement a “ruse” – an

assertion promptly and conclusively destroyed by the Braithwaite declaration (Exhibit 2 to Exhibit

A to Zakarin Decl.).

        By these actions, Plaintiff and Blackburn, but especially Blackburn, vexatiously multiplied

the proceedings in this action, causing UMG to incur hundreds of thousands of dollars in legal fees



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and expenses, before belatedly admitting that, just as UMG had stated at the inception of this case,

in the Zakarin March 4, 2024 letter (Zakarin Decl. Exhibit B), the claims and allegations against

Grainge, Motown and UMG Recordings, Inc. were baseless. These actions are sanctionable under

both this Court’s inherent power and under Section 1927. See Levine v. F.D.I.C., 2 F.3d 476, 479

(2d Cir. 1993) (imposing sanctions, including under 28 U.S.C. § 1927 and the district court's

inherent power, on attorney and explaining that “the creativity of an attorney may not transcend

the facts of a given case; counsel in his attempts at creativity concocted ‘facts’ that were not well

grounded, and therefore exceeded the bounds of conduct.”); Craig v. UMG Recordings, Inc., 380

F. Supp. 3d 324, 338 (S.D.N.Y. 2019) (Oetken, J.) (imposing sanctions on attorney under 28 U.S.C.

§ 1927 where attorney filed “entirely meritless” motion to disqualify expert witness based upon

false assertion that expert was conflicted due to plaintiff supposedly sharing confidential

information).

       Blackburn has and should have no credibility. He has filed complaints filled with criminal

accusations with no factual or legal basis and has now admitted that he did so. He has also directly

lied to this Court. When the Court asked him on April 9 about what he had done to serve the

Combs’ defendants, he stated that he had given the complaint to his process server on March 18,

2024. But that was untrue; he did not even seek the issuance of a summons until April 17, 2024.

But truthfulness seems not to be of much importance to Blackburn. He first alleged, in the FAC,

that UMG provided “vast sums of cash” to Combs, only to drop that false allegation in the SAC.9

He included an allegation in the FAC that UMG failed to file proper tax forms for the non-existent

cash payments, when he could not possibly have any idea if that were true (it was not).



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  Blackburn admitted in his March 28 letter that his only support for these allegations was the fact
that Motown provided funding for the production of Love Records’ first album under the license
agreement. (ECF No. 30 at 2.)
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       Motown entered into a license agreement to distribute a single album and that license

agreement required Motown to make certain payments to or on behalf of Love Records. From that

ordinary and commonplace commercial transaction, Plaintiff and Blackburn manufactured

criminal accusations for which they never had any factual basis, indifferent to the harm that such

allegations would cause. And confirming Blackburn’s bad faith, he persisted in repeating these

baseless criminal accusations even after the “facts” he alleged in the FAC were conclusively shown

to be untrue, manufacturing entirely new and equally false “facts” in effort to underpin the baseless

claims of the FAC that were carried over to the SAC but based on utterly different “facts.” This

conduct is and should be sanctionable.

       The facts here compellingly cry out for sanctions. Not only is Blackburn’s conduct part of

a consistent pattern of behavior, but he has used the outrageous allegations he pleads to self-

promote on social media, even as he purposefully stalled in seeking to serve both the FAC and

SAC. See Galonsky v. Williams, No. 96-CV-6207 (JSM), 1997 WL 759445, at *4 (S.D.N.Y. Dec.

10, 1997) (imposing sanctions where frivolous claims were “apparently made for their public

relations value and as tactical moves in th[e] litigation.”); An v. Despins, No. 22-CV-10062 (VEC),

2023 WL 4931832, at *6 (S.D.N.Y. Aug. 2, 2023) (“A court may infer an improper purpose if, in

light of Plaintiffs’ conduct during and outside of litigation, a complaint is so baseless as to suggest

that there is an ulterior motive behind the lawsuit.”) (citation omitted); McCullough v. World

Wrestling Ent., Inc., No. 3:15-CV-001074, 2016 U.S. Dist. LEXIS 156459, at *37-38 (D. Conn.

Nov. 10, 2016) (“Baseless claims that are included in a complaint as part of a media campaign to

pressure the defendant with negative public relations have been found to evidence bad faith and

improper purpose on the part of filing counsel.”) (citation omitted). This is precisely what Judge

Cote observed in referring Blackburn to the Southern District Grievance Committee.



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       Blackburn and Plaintiff have had multiple opportunities to stand down and dismiss their

claims against Grainge, Motown and UMG Recordings, Inc. And they ignored every single

opportunity until at last they confronted the imminent deadline for filing their opposition to UMG’s

motion to dismiss the SAC – which they had no basis for opposing – and the expiration of their

“safe harbor” under Rule 11. Only then did they finally dismiss the SAC. Again, that behavior

warrants sanctions, even if it had not resulted in increasing the unnecessary legal cost of UMG by

hundreds of thousands of dollars. And it is not merely the legal costs. Sir Lucian Grainge has had

his reputation sullied by absolutely false accusations, which Plaintiff and Blackburn either knew

were false or simply did not care whether they were true or false.

       Almost identically to the basis for sanctions in Reichmann, sanctions are appropriate here

because this entire lawsuit was brought against UMG “entirely without color from the start,”

because Plaintiff’s and Blackburn’s “entire course of conduct throughout the lawsuit evidenced

bad faith and an attempt to perpetrate a fraud on the court,” and because Plaintiff and Blackburn

ignored documents, from the outset, “that absolutely foreclosed [their] constantly changing

allegations.” 553 F. Supp. 2d at 319. Further, Blackburn’s conduct should be held to be as

egregious as the attorneys in Reichmann because he too failed to adhere to his obligations to make

necessary investigations into whether Plaintiff’s claims “were being brought for an improper

purpose” and “whether there was any factual support at all for the claims, beyond the

representations of the client” — Blackburn “failed to make these investigations and turned a blind

eye to the inconvenient facts and documents presented.” 553 F. Supp. 2d at 320.

       Here, the bad faith of Blackburn and Plaintiff is palpable and indisputable. An award of

meaningful sanctions is necessary to ensure that plaintiffs like Plaintiff and attorneys like

Blackburn understand that there are consequences for such conduct. See, e.g., ACLI, 907 F. Supp.



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at 71 (sanctioning litigants and their counsel under the court’s inherent power and § 1927 because

of their “propensity for meritless arguments and their rapidly deteriorating standing before this

Court” and for their “blatant disregard of the rules and regulations which permit the judicial

machinery to function smoothly”) (citations omitted and cleaned up).

       B.      Sanctions Should Be Awarded Based on the Refusal to Dismiss Objectively
               Baseless Claims Even After Being Provided With Notice the Claims Were
               Baseless

       Through two motions to dismiss and the service of two Rule 11 motions, UMG has made

clear that there was never any basis for the allegations of the original complaint, the FAC and the

SAC. None of the pleadings did or could plead a viable RICO claim against Grainge, Motown or

UMG Recordings, Inc. None of the pleadings did or could plead a viable TVPA claim against

Grainge, Motown and UMG Recordings, Inc. And Plaintiff and Blackburn have now finally

admitted as much in Blackburn’s declaration in support of their motion to dismiss the SAC and all

allegations against Grainge, Motown and UMG Recordings, Inc. with prejudice.

       As to RICO, even after having been told, in UMG’s first motion to dismiss, the manifest

flaws of the FAC’s RICO claims against UMG, Plaintiff and Blackburn still failed to viably allege

virtually every necessary element in the SAC. (ECF No. 41 at pp. 10-21.) And that is because

there was no basis for any such claim. See, e.g., Katzman v.Victoria’s Secret Catalogue, 167 F.R.D.

649, 660-61 (S.D.N.Y. June 25, 1996) (“The total lack of substance [to the RICO claim] gives rise

to the inference that the action was filed for improper purposes.”); Demaree v. Castro, No. 22-CV-

8772 (CM), 2023 WL 6465881, at *16 (S.D.N.Y. Oct. 4, 2023) (“Under the ‘objectively

reasonable’ standard, no competent attorney could have formed a reasonable belief that the RICO

claims (asserted in the FAC) were well grounded in fact and warranted by existing law.




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       As explained above, Plaintiff’s and Blackburn’s entire theory of civil RICO liability in the

SAC (after abandoning the non-existent “respondent (sic) superior” claim of the FAC), based upon

a non-existent “general business partnership,” and upon the mere payment of money by UMG to

Love Records under a commonplace commercial license agreement to make music, is and always

was baseless. It was brought in bad faith two weeks after Plaintiff and Blackburn already knew,

from UMG’s first motion to dismiss, that the RICO claim was fatally deficient. Blackburn’s bad

faith is properly sanctionable because it has vexatiously multiplied this proceeding and increased,

unnecessarily, the litigation costs incurred by UMG.

       As to the TVPA, Plaintiff does not even have a private right of action for the obstruction

claim asserted (nor did Plaintiff have any basis for the aiding and abetting claim against UMG in

the FAC, which Plaintiff belatedly withdrew from the SAC). (ECF No. 41 at p 24.) See Gong v.

Sarnoff, No.23-cv-343 (LJL),2023 WL 5372473, at *11 (S.D.N.Y. Aug. 22, 2023) (finding that

federal claim “lacked any chance of success and was objectively frivolous” where, inter alia, there

was no private right of action under the federal statute).

       But even if a private right of action existed, there was still no basis for any TVPA claims

against Grainge, Motown and UMG Recordings, Inc. And again, in their motion to dismiss the

SAC as against UMG, Plaintiff and Blackburn have admitted as much. The SAC alleged nothing

beyond bad faith speculation and conclusions to support such a claim against UMG. (Id.) See

Gong, 2023 WL 5372473, at *11; Star Mark Mgmt. v. Koon Chun Hing Kee Soy, 682 F.3d 170,

177 (2d Cir. 2012) (“[T]he operative question is whether the argument is frivolous, i.e., the legal

position has ‘no chance of success,’ and there is ‘no reasonable argument to extend, modify or

reverse the law as it stands.’”) (citations omitted).




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       Blackburn’s acknowledgement in his March 28 letter that Plaintiff was purely guessing

whether UMG supposedly engaged in anything more than “negligent[]” conduct alone confirms

that the claims should never have been brought. No such claim alleging liability under civil RICO

and the TVPA because of alleged “negligen[ce]” should ever have been brought. See, e.g., Star

Mark, 682 F.3d at 177. In truth, there was not even any negligence as UMG had nothing to do

with any of the alleged activity of Combs and his associates.

       As in Galonsky, Plaintiff’s and Blackburn’s “conduct before this Court has been a study in

vexatious and multiplicative litigation” and the “history of this litigation leaves no doubt that”

UMG were added to this action “solely for tactical purposes without any regard to legal merit.”

1997 WL 759445, at *4.

       On its face, the SAC, which alone has cost UMG some $200,000 to defend (not including

the costs of this motion for sanctions but only the opposition to Blackburn’s motion to amend, the

motion to dismiss the SAC and the preparation and service of a second Rule 11 motion), was

preposterous. Blackburn knowingly swapped out the bogus “parent company” allegation of the

FAC for an equally baseless “general business partnership” of the SAC as if he were changing his

socks. He abandoned the offensively false allegations regarding Grainge’s supposed presence at

Combs’ homes during “sex trafficking” parties, substituting equally false allegations about the

billionaire Combs only being able to fund his alleged sex trafficking through money that UMG

supposedly showered on him in an uncontrolled fashion. The fact that none of these allegations

had any factual basis and did not, in any event, provide any legal basis for the claims, did not deter

Plaintiff and Blackburn. They insisted on making up these allegations and including them in the

SAC, and then they refused to drop them until they confronted the deadline to respond to the

motion to dismiss, their inability to do so and the expiration of the Rule 11 safe harbor. If that



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does not constitute bad faith warranting sanctions under 28 U.S.C § 1927 and warranting sanctions

under the inherent power of this Court, then it is difficult to know what might warrant sanctions.

                                        CONCLUSION

       Blackburn has vexatiously multiplied this proceeding and increased the costs incurred by

UMG in bad faith, warranting the imposition of sanctions equal to the added unnecessary litigation

fees and expenses he has caused UMG to incur. Plaintiff and Blackburn have pressed non-existent

claims against Grainge, Motown and UMG Recordings, Inc. through three pleadings, ignoring

clear warning from UMG, ignoring two motions to dismiss and two Rule 11 motions which clearly

and unequivocally demonstrated that the claims and allegations against UMG were utterly false

and legally baseless. Under the inherent power of this Court, sanctions should be awarded against

both Blackburn and Plaintiff to assure that they, and others who would emulate them, are deterred

from such conduct. Further, Blackburn’s conduct here and elsewhere should be reported to, at the

least, the Southern District Grievance Committee so it can be evaluated in conjunction with Judge

Cote’s reference.

Dated: New York, New York
       May 17, 2024                          PRYOR CASHMAN LLP



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                                     Attorneys for Sir Lucian Grainge, Motown
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                                     (incorrectly named in the complaint as
                                     Universal Music Group)




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